        Case 8:05-cr-00344-SDM-TBM Document 73 Filed 01/19/06 Page 1 of 6 PageID 197
A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER:         8:05-cr-344-T-23TBhI
                                                              USM NUMBER:          48070-018
VS.



CARLOS HUMBEKTO FAJARDO
 a/k/a Celilno Monrar~oGongora                                         Defendant's Attorney: Ronald F. Smith, cja

TI-IE DEFENDANT:

X pleaded guilty to counts ONE and TWO of tlie Indictn~ent.
-

TITLE & SECTION                              NATURE OF OFFENSE                            OFFENSE ENDED             COUNT

46 Appendix, U.S.C. 5s 1903(a),              Conspiracy to Possess With Intent to         August 11, 2005           ONE
1903(g), and 1903(j); and 21                 Distribute 5 Kilograills or More of
U.S.C. 960(b)(l)(B)(ii)                      Cocaine While Aboard Vessels Subject
                                             to the Jurisdiction ol'the United States

46 Appendix, U.S.C. $6 1903(a)               Possession With Intent to Distribute 5     August 11, 2005             TWO
and 1903(g): 18 U.S.C. 4 2: and 21           Kilograms or More of Cocaine Whilc
U .S .C. 5 960(b)(l)(B)(ii)                  Aboard Vessels Subject to the Jurisdiction
                                             of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The scntencc is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of nanx, residence, or mailing address until all fines, restitution, costs, and special assessments innposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circun~stances.


                                                                                 Dare of Imposition of Sentence: January 17, 2006




                                                                                     STEVEN D. MERRYDAY       b
                                                                                 UNITED STATES DISTRICT JUDGE

                                                                                 DATE: January       b;Gi, 2006
        Case 8:05-cr-00344-SDM-TBM Document 73 Filed 01/19/06 Page 2 of 6 PageID 198
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         CARLOS MUMBERTO FAJARDO                                                                  Judgment - Page 2 of 6
Case No. :         8:05-cr-314-T-23TBM



                   The defendant is hereby cornrnitted to the custody of the United States Bureau of Prisons to be
illlprisoned for a total term of Oh% IlUNDRED SIXTY-EIGHT (168) MONTHS as to courits o~luand two of the Indictment,
both terms to run concurrently.




 X The court makes the following recommendations to the Bureau of Prisons: that the defendant be placed in a facility that
offers employment with Unicor .



-
X The defendant is rcmanded to the custody of the United States Marshal.
- The defendant shall surrer~derto the United Slates Marshal for lhis district.
            at - a.m./p.n~.011 -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Oflicc.



                                                                    RETURN

          I have executed this judg~llentas follows:




          Defendant delivered on                                                  to

at                                                                        , with a certified copy of this judgment.



                                                                                          United States Marshal

                                                                        By:
                                                                        Deputy Marsllal
        Case 8:05-cr-00344-SDM-TBM Document 73 Filed 01/19/06 Page 3 of 6 PageID 199
A 0 2458 (Rev. 12/03) Sheet 3 - Supervised Release

Defendant :       CARLOS NUMDERTO FAJARDO                                                                    Judgnlc~lt- Page 3 of -&
Case No. :        8:05-cr-344-T-23TBM

                                                       SUPElRVISED RELEASE

         Upon release from inlprisonnlent, the defendant shall be on supervised release for a term of SIXTY (60) MONTHS as to
couilts onc and t.wo of the Indictment, both terms to ruii concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, anmunilion, or destructive device as defined in 18 U.S.C. 5 921.

X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that addilional drug urinalysis is necessary, he Court
         authorizes randoin drug testing not to exceed 104 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
         the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.
                                        STANDARD CONDITIONS OF SUPERVISION
1)       the defendant shall not leave the judicial district without the permission of the court or probalion officer;

2)       the defendant shall report to the probation officer and shall submit a truthful and complete writtcn report within the first five days
         of each month:

3)       thc defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)       the dekndant shall support his or her dcpcndents and incct other family responsibilities;

5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;

6)       thc defendant shall notify thc probation officer at least ten days prior to any changc in residcnce or cmploymcnt;

7)       tlic defendant shall rcrrain rroni excessive use of alcohol and sliall not purchase, posscss, usc, distribute, or adminisler any
         controlled silbslancc or any paraphernalia related to any controlled substances, except as prescribed by a physician:

8)       the defendant shall not frequent places whcre controlled s~~bstances
                                                                           arc illegally sold, used, distributed, or adrninistcred;

9   >    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;

10)      the defendant shall pcrmit a probation officer to visit him or her at any timc at homc or elsewhere and shall pennit confiscation of
         any contraband observed in plain view of the probation officer;

1 1)     the defendaiit shall notify the probation officer within sevcnty-two hours of being arrcsted or qilestioncd by a law cnforcemcnt
         officer:

12)      thc defcndnnt shall not cntcr into any ngrcemcnt to act as an informcr or spccial agent of a law cnforcc~ncnlagcncy without tlie
         pcnnission of the court;

13)      as directed by the probation officcr, the dcf'endant shall notil'y third paltics of risks that may be occasioncd by thc defendant's criminal
         rccord or personal history or characteristics and sliall permit the probation officer to make such nolifications and to confirm the
         defendant's compliance with such notification rcquiremcnt.
        Case 8:05-cr-00344-SDM-TBM Document 73 Filed 01/19/06 Page 4 of 6 PageID 200

A 0 245B (Rev. 12103) Sheet 3C - Supervised Release

Defendant:        CARLOS MUMBERTO FAJARDO                                                             Judgment - Page 4 of 6
Case No. :        8:05-cr-344-T-23TBM
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

X
-        The defendant shall participate in a program (outpatient andlor inpatient) for treatment of narcotic addiction or drug or alcohol
         dependency and follow the probation officer's instructiolls regarding the implementation of this court directive. This progran
         may include testing for the detection of substance use or abuse not to exceed an amount determined reasollable by the
         Probation Oftice's Sliding Scale for Substance Abuse Treatment Services. Upon co~llpletionof a drug or alcohol dependency
         treatinent program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
         times per year.

-
X        If the defendant is deported, he shall not re-enter the United States without 111e express permission of the appropriate
         govermllental authority, curre~ltlythe United States Department of Hoinelaild Security.
        Case 8:05-cr-00344-SDM-TBM Document 73 Filed 01/19/06 Page 5 of 6 PageID 201
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         CARLOS HUMBERTO FAJARDO                                                         Judgment - Page 5 of 6
Case No. :         8:05-cr-344-T-23TBM

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessment                         Fine                        Total Restitution

         Totals:                                              $ waived


-        The determination of restitution is deferred until        .    An A~~zended
                                                                                  Jz~dg~~ze~zt          Case ( A 0 245C) will
                                                                                          ilz a Crinli~~al
         be entered after such determination.
-        The defendant must make restitution (including cornlllu~lityrestitution) to the following payees in the a~nountlisted
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately propostioned payment, unless
         specified otherwise in the priority order or percentage pa illent column below. However, pursuant to 18 U.S.C. 3
         3664(i). all non-federal victims n ~ u s be
                                                  t paid before the dnited States.
                                                                                                            Prioritv Order or
                                               *Total                      Amount of                        perce&age of
Namc of Payee                                Amount of Loss             Restitution Ordcrcd                 Pay ment




                           Totals:

          Restitution amount ordered pursuant to plea agreement $
          The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth   after the date of the judgment, pursuant to 1 8 U.S .C. 5 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
          The court determined that the defendant does not have the ability to pay interest and il is ordered that:
         -         the interest requirement is waived for the - fine      - restitution.
         -         the interest requirement for the - fine - restitutioll is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but belore April 23, 1896.
        Case 8:05-cr-00344-SDM-TBM Document 73 Filed 01/19/06 Page 6 of 6 PageID 202
A 0 245B (Rev 12103) Sheet 6 - Schedule of Payments

Defendant:        CARLOS HUMBERTO FAJARDO                                                            Judgment - Page 6of 6--
Case No. :        8:05-cr-344-T-23TBM




Having assessed the defendant's ability to pay, payment of the total crinlinal monetary peilalties are due as follows:

A.       -
         X Lump suin payment of $ 200.00 due immediately, balance due
                            -not later than                   , Or
                            -in accordance - C, - D, - E or - F below; or
B.       -                                    (may be combined with -C, -D, or -F below); or
                  Payment to begin i~n~nediately
C.       -        Payment in equal                  (e.g.. weekly, inonthly, quarterly) installments of $               over a
                  period of          (e.g ., months or years). to coimllence             days (e .g ., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal                ( e . i , weekly, monthly, quarterly) installments of $            over a
                  period of             , (e.g., mont s or years) to colnmence                     (e-g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
E.       -        Payment during the tern1 of supervised release will comnence within                        (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payinent of criminal n~onetarypenalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                          payment of criminal
monetar penalties is due during i ~ nrisonment. All criminal inonetary penalties, except                             made through the
         i                              k
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously rnade toward any criminal lnonetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Nu~nbers(including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) commur~ityrestitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
